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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  DELTA DIVISION

JARELL D. TERRY                                                                       PLAINTIFF
ADC #149998

v.                                   No. 2:22-cv-00170-LPR

DEXTER PAYNE, et al.                                                              DEFENDANTS

                                          JUDGMENT

       Consistent with the Order entered today and previous Orders in this case, it is

CONSIDERED, ORDERED, and ADJUDGED that: (1) Plaintiff’s claims against Defendant

Sweatman are dismissed without prejudice; (2) Plaintiff’s official capacity damages claims against

all Defendants are dismissed without prejudice; (3) any stand-alone claim about the light being left

on in Plaintiff’s cell is dismissed without prejudice; and (4) all other claims against Defendants

Payne, Straughn, Lay, Randle, and Etherly are dismissed with prejudice. The Court certifies,

pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis appeal from this Judgment or any

related Orders would not be taken in good faith.

       IT IS SO ADJUDGED this 4th day of February 2025.


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                                                     LEE P. RUDOFSKY
                                                     UNITED STATES DISTRICT JUDGE
